       Case 2:06-cr-00192-WBS Document 109 Filed 06/15/12 Page 1 of 3


 1
   JAMES R. GREINER, ESQ.
 2 CALIFORNIA STATE BAR NUMBER 123357
   LAW OFFICES OF JAMES R. GREINER
 3 555 UNIVERSITY AVENUE, SUITE 290
   SACRAMENTO, CALIFORNIA 95825
 4 TELEPHONE: (916) 649-2006
   FAX: (916) 920-7951
 5
     ATTORNEY FOR DEFENDANT
 6   FLEETA RASHEEN SOUZA
 7
                  IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                        EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,      )               CR.NO.S-06-192-EJG
                                    )
11        PLAINTIFF,                )               STIPULATION AND
                                    )               ORDER TO CONTINUE ADMIT OR
12        v.                        )               DENY HEARING TO FRIDAY,
                                    )               JULY 13, 2012
13   FLEETA RASHEEN SOUZA,          )
                                    )
14                                  )
          DEFENDANT.                )
15                                  )
     ______________________________)
16
17                Plaintiff, the United States of America, by its counsel, Assistant United
18   States Attorney, Mr. Richard J. Bender, defendant Fleeta Rasheen Souza, represented
19   by Mr. James R. Greiner, hereby stipulate and agree that the admit or deny hearing
20   and the sentencing on the admission can be calendared for Friday, July 13, 2012, at
21   10:00 a.m., before the Honorable Senior District Court Judge, Edward J. Garcia. The
22   parties agree that the admit or deny hearing set for Friday, June 15, 2012 at 10:00
23   a.m. can be vacated.
24         The defense is requesting this matter be continued so that the defendant can
25   make the admissions and be sentence all on the same day. The purpose for this is to
26   conserve and save Court resources and time. Counsel for the defendant has had
27   discussions with the defendant and she is willing to enter admissions and be
28                                              1
       Case 2:06-cr-00192-WBS Document 109 Filed 06/15/12 Page 2 of 3


 1   sentenced all on one day. Defense counsel has attempted to contact the probation
 2   officer but to date has been unsuccessful, primarily since the officer has been on
 3   leave. The government has expressed no objection to this if the Court so agrees.
 4         In addition, probation needs this time to prepare a sentencing report for the
 5   Court and parties.
 6         Courtroom deputy, Colleen Lydon, was contacted by counsel to check the
 7   proposed date and the date of Friday, July 13, 2012, was open and available for the
 8   Court and it is.
 9         Finally, James R. Greiner has been authorized by the government to sign this
10   agreement and stipulation.
11
12
13                                   Respectfully submitted,
                                     BENJAMIN B. WAGNER
14                                   UNITED STATES
15                                   /s/ RICHARD J. BENDER
16   DATED: 6-14-2012                _____________________________________
                                     RICHARD J. BENDER
17                                   ASSISTANT UNITED STATES ATTORNEY
                                     ATTORNEY FOR THE PLAINTIFF
18
19
                                     /s/ JAMES R. GREINER
20   DATED: 6-14-2012                _____________________________________
                                     JAMES R. GREINER
21                                   ATTORNEY FOR DEFENDANT
                                     FLEETA RASHEEN SOUZA
22
23
24
25
26
27
28                                              2
       Case 2:06-cr-00192-WBS Document 109 Filed 06/15/12 Page 3 of 3


 1
 2                                        ORDER
 3
           The Court Orders the admit/deny hearing on the TSR violation vacated
 4
     from the Court’s Friday, June 15, 2012, caledar.
 5
 6
           The Court Orders that the admit/deny hearing shall be re-calendared for
 7
     Friday July 13, 2012, at 10:00 a.m., in Courtroom 8, 13th Floor.
 8
 9
           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
10
11
12
     DATED: June 14, 2012
13
14
15
16                           /s/ Edward J. Garcia
                             _______________________________________
17
                             EDWARD J. GARCIA
18
                             UNITED STATES SENIOR
19                           DISTRICT COURT JUDGE
20
21
22
23
24
25
26
27
28                                           3
